                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


JANET MONGE,                       :
               Plaintiff           :                      CIVIL ACTION
                                   :
          v.                       :
                                   :
UNIVERSITY OF PENNSYLVANIA et al., :
               Defendants          :                      No. 22-2942

                                         ORDER

       AND NOW, this 31st day of August, 2022, upon consideration of the parties’ letter to the

Court dated August 31, 2022 and the stipulation contained therein, it is ORDERED that the

following deadlines shall apply:

       1. Plaintiff Ms. Monge must FILE any response to any motion made by one or more of

           the defendants on or before September 23, 2022; and

       2. Defendants must FILE any reply in support of any motion on or before October 7,

           2022.



                                                  BY THE COURT:


                                                  s/ Gene E.K. Pratter
                                                  GENE E.K. PRATTER
                                                  UNITED STATES DISTRICT JUDGE




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